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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

  DIONNE MARIE NADON,
                                                   CV 18-140-M-KLD
               Plaintiff,

       vs.                                        ORDER

  ANDREW SAUL, Commissioner of
  Social Security,

                Defendant.



      The Ninth Circuit Court of Appeals has issued its formal mandate in this case

pursuant to Rule 41(a) of the Federal Rules of Appellate Procedure. Accordingly,

      IT IS ORDERED that this case is REMANDED to the Commissioner of

Social Security for further proceedings consistent with the Ninth Circuit’s March 30,

2021 memorandum decision.

             DATED this 25th day of May, 2021.

                                       ________________________________
                                       Kathleen L. DeSoto
                                       United States Magistrate Judge
